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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO
                               Bankruptcy Judge Elizabeth E. Brown
  In re:
                                                    Bankruptcy Case No. 18-18495 EEB
  RICKY RAY HARRINGTON,
  JAN LEE HARRINGTON,                               Chapter 13

  Debtors.

                                ORDER DISMISSING CHAPTER 13 CASE
                                 PRIOR TO CONFIRMATION OF PLAN

       THIS MATTER comes before the Court on the hearing on the U.S. Bank National
Association, As Trustee For GSAA Home Equity Trust 2007-1, Asset-Backed Certificates,
Series 2007-1 Motion to Dismiss Case held on February 13, 2019. For the reasons stated on
the Record, the Court

FINDS that:
   1. Cause exists for dismissal of this case pursuant to 11 U.S.C. § 1307.
   2. No Plan has been confirmed.
   3. No request for delayed revestment of property of the estate has been made.

IT IS THEREFORE ORDERED that:
    1. The U.S. Bank As Trustee For GSAA Home Equity Trust 2007-1, Asset-Backed
       Certificates, Series 2007-1's Motion to Dismiss Case is GRANTED and this case is
       DISMISSED..
    2. The Clerk of the Court shall cause this Order to be served on all creditors and parties in
       interest within five (5) days.
    3. In accordance with 11 U.S.C. § 349(b)(1), any custodianship or proceeding superseded
       under § 543, any transfer avoided under §§ 522, 544, 545, 547, 548, 549 or 724(a) of Title
       11 or preserved under §§ 510(c)(2), 522(i)(2) or 551 of Title 11 is reinstated. Any lien
       voided under § 506(d) of Title 11 is reinstated; and any order, judgment or transfer ordered
       under §§ 522(i)(1), 542, 550 or 553 of Title 11 is vacated.
    4. All property of the estate, except payments made by the Debtor to the Trustee, shall revest
       in the Debtor as of the date of this Order pursuant to 11 U.S.C. § 349.
    5. Payments made by the Debtor shall be retained by the Trustee pending payment of claims
       allowed under § 503(b) pursuant to 11 U.S.C. § 1326(a)(2).
       a. Any request for allowance of a § 503(b) claim shall be made in conformation with 11
            U.S.C. § 503 and Fed. R. Bankr. P. Rules 9013, 9014 and 2002, and be filed no later
            than 28 days of the date of this Order.
       b. Within 30 days after determination of the last request, if any, for allowance of
            §503(b) claims, the Trustee shall pay all fees imposed by statute and allowed § 503(b)
            claims from the Debtor’s payments and return any surplus to the Debtor

           DATED this 13th day of February, 2019.    BY THE COURT:


                                                     __________________________
                                                     Elizabeth E. Brown, Bankruptcy Judge
